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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

DERON MCCOY, JR.,                                    )
                                                     )
        Plaintiff,                                   )
                                                     )      Case No. 5:21-cv-03269-TC-ADM
v.                                                   )
                                                     )
ARAMARK CORRECTIONAL                                 )
SERVICES, LLC, et al.,                               )
                                                     )
        Defendants.                                  )


     DEFENDANT ARAMARK CORRECTIONAL SERVICES, LLC’s NOTICE TO THE
       COURT REGARDING ITS MOTION TO DISMISS (DOC. #42) AND BRIEF IN
               SUPPORT OF ITS MOTION TO DISMISS (DOC. #43)

        Defendant Aramark Correctional Services, LLC (“Aramark”) provides this Notice to the

Court regarding its previously filed Motion to Dismiss (Doc. #42) and the Brief in Support of such

Motion to Dismiss (Doc. # 43) (“Aramark’s Brief”), and specifically pertaining to the employment

status of Defendant Sharon Coats (“Ms. Coats”), and states as follows:

        1.      Aramark’s Brief incorrectly describes Ms. Coats as an Aramark employee. Upon

information and belief, Ms. Coats is a KDOC contract employee.

        2.      Aramark notes that there has been confusion surrounding this fact from the

inception of this case. Plaintiff’s Second Amended Petition (“Petition”) describes Ms. Coats as an

Aramark employee, and also as a KDOC employee. The KDOC Defendants’ Notice of 5/3/2023

(Doc. #68) also noted the confusion in this case concerning Ms. Coats’ employment status.

        3.      In response to the Court’s Order of 4/20/2023 (Doc. #56) concerning service of

process issues, Aramark and its undersigned counsel undertook further investigation into the

specific employment status of the three named Defendants covered by that Order – Ms. Coats,

Rabbi Fellig, and Julie Hay (incorrectly named in the Petition as “Judy Hay”). During that process,
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and specific to Ms. Coats, Aramark was unable to locate any record of her having been an Aramark

employee and further discovered that Ms. Coats was believed to be a KDOC employee or

contractor. As a result, Aramark’s Notices of 4/28/23 and 5/2/2023 (Doc. #60 and #64), in

response to the Court’s 4/20/2023 Order, stated that upon investigation, information and belief,

Sharon Coats is not a current or former Aramark employee, but rather has been an employee or

contractor of KDOC. The KDOC Defendants confirmed Ms. Coats’ status as a KDOC “contract

employee” in the KDOC Defendants’ Notice of 5/3/2023 (Doc. #68).

       4.      Similar to what was stated in the KDOC Defendants’ Notice, Aramark’s

undersigned counsel regrets this error and inaccuracy in the prior Brief and also apologizes for the

confusion that has been previously attendant to this issue.


                                              Respectfully submitted,

                                              /s/ Dylan L. Murray
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                                 CERTIFICATE OF SERVICE

       I certify that on this 4th day of May, 2023, I electronically filed the foregoing with the Clerk
of the Court using the Court’s CM/ECF system, which will send notification of the same to all
counsel of record as indicated below. A copy will also be sent to the Pro Se Plaintiff via first class
mail.

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                                                       /s/ Dylan L. Murray




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